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                        PROPOSED ORDER
                                                                  Case 8:12-cv-01994-DOC-JCG              Document 234-1    Filed 03/11/25   Page 2 of 3 Page
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                                                                    6 Attorneys for Defendant, Alexander
                                                                        Marine Co. Ltd.
                                                                    7
                                                                                                       UNITED STATES DISTRICT COURT
                                                                    8
                                                                                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                    9
                                                                                                       SOUTHERN DIVISION, SANTA ANA
                                                                   10
                                                                      DAVID PARKER AND BIG BIRD                            Case No. 8:12-01994-DOC-JSG
                                                                   11 HOLDINGS, LLC,
                                                                                                                           [PROPOSED] ORDER GRANTING
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                   12                     Plaintiff,                       MOTION TO VACATE RENEWAL
                                                                                                                           OF JUDGMENT BY CLERK
                                                                   13           v.                                         ENTERED ON FEBRUARY 3, 2025
                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




                                                                   14 ALEXANDER MARINE CO. LTD.,                           Hearing:
                                                                   15                     Defendant.
                                                                                                                           Date: April 14, 2025
                                                                   16                                                      Time: 8:30 a.m.
                                                                                                                           Court: 411 West 4th Steet
                                                                   17                                                             Courtroom 10A
                                                                                                                                  Roybal Federal Building
                                                                   18                                                             Santa Ana, CA 92701

                                                                   19                                                      Judge: Honorable David O. Carter

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                                                                   21           A hearing was held on April 14, 2025, at 8:30 a.m. in Courtroom 411 West 4th
                                                                   22 Street, Courtroom 10A, Santa Ana, California 92701 before the Honorable David O.

                                                                   23 Carter for the Court to consider and act upon the Motion to Vacate Renewal of

                                                                   24 Judgment by Clerk Entered on February 3, 2025 (the “Motion”) [Docket No. __],

                                                                   25 filed by defendant, Alexander Marine Co., Ltd. (“Defendant”). Appearances were

                                                                   26 as noted on the record.

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                                                                        4919-3031-2227.4 02924.001                              Case No. 8:12-cv-01994-DOC-JCG
                                                                             [PROPOSED] ORDER GRANTING MOTION TO VACATE RENEWAL OF JUDGMENT BY CLERK
                                                                  Case 8:12-cv-01994-DOC-JCG            Document 234-1     Filed 03/11/25   Page 3 of 3 Page
                                                                                                            ID #:3214



                                                                    1           Based upon the record, the pleadings filed in support of the Motion,
                                                                    2 oppositions, and replies thereto; the arguments of counsel at the hearing; the

                                                                    3 findings made by the Court on the record of the hearing; and good cause appearing

                                                                    4 therefor; and for the reasons stated by the Court on the record of the hearing,

                                                                    5           IT IS HEREBY ORDERED:
                                                                    6           1.        The Motion is GRANTED for the reasons stated by the Court on the
                                                                    7 record at the hearing.

                                                                    8           2.        The Renewal of Judgment by Clerk Entered on February 3, 2025 is
                                                                    9 vacated.

                                                                   10           3.        The District Court shall retain exclusive jurisdiction to resolve any
                                                                   11 dispute arising from or relating to this Order.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                   12           IT IS SO ORDERED
                                                                   13
                                        LOS ANGELES, CALIFORNIA




                                                                        Dated:
                                           ATTORNEYS AT LAW




                                                                   14                                                    HON. DAVID O. CARTER
                                                                   15                                                    UNITED STATES DISTRICT JUDGE
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                                                                        4919-3031-2227.4 02924.001                2                  Case No. 8:12-cv-01994-DOC-JCG
                                                                                     [PROPOSED] ORDER GRANTING MOTION TO VACATE RENEWAL OF JUDGMENT
